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PROB 35                   ORDER TERMINATING PROBATION
                            PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )    Docket Number: 1:02CR05101-02 AWI
                                                )
JOAQUIN URIOSTEQUI                              )
                                                )


On July 12, 2004, the above-named was placed on probation for a period of 2 years. He has
complied with the rules and regulations of supervision. It is accordingly recommended that
he be discharged from supervision.

                                 Respectfully submitted,

                                  /s/ Lonnie E. Stockton

                                 LONNIE E. STOCKTON
                             United States Probation Officer

Dated:       March 3, 2006
             Bakersfield, California
             LES:ks

REVIEWED BY:        /s/ Rick C. Louviere
                    RICK C. LOUVIERE
                    Supervising United States Probation Officer




                                                                                  Rev. 03/2005
                                                                                 P R O B 3 5. MR G
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Re:   Joaquin URIOSTEQUI
      Docket Number: 1:02CR05101-02 AWI
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.




IT IS SO ORDERED.

Dated:    March 6, 2006                       /s/ Anthony W. Ishii
0m8i78                                  UNITED STATES DISTRICT JUDGE




                                                                                    Rev. 03/2005
                                                                                   P R O B 3 5. MR G
